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UNITED STATES DISTRICT COURT
DISTRICT OF MASSACHUSETTS

UNITED STATES
v. No. l6-mc-9lO64-ADB
UNDER SEAL
MARTl`N GOTTESFELD

SIXTH ASSENTED-TO MOTION TO EXCLUDE
TIME FROM THE 30-DAY INDICTMENT PERIOD

The United States asks this Court, pursuant to 18 U.S.C. § 3l6l(h), to exclude, from the
30-day period set out in § 3l6l(b) for filing an indictment or information, the period from
September 9, 2016, through October 10, 2016. ln support of this motion, the government states
as follows:

l. On February l7, 2016, Martin Gottesfeld was arrested in Miami, Florida on the
charge of conspiracy to damage computers (in violation of 18 U.S.C. § 371), set out in a criminal
complaint, Unz'tea' States v. Martin Gottesfeld, No. l6-MJ-4ll7-MBB. Gottesfeld made his
initial appearance in U.S. District Court of the Southern District of Florida on February 17.

2. The Defendant waived a detention, removal, and probable cause hearing and was
remanded to the custody of the U.S. Marshals for transportation to the District of Massachusetts.
He made his initial appearance in the District of Massachusetts on April 6, 2016.

3. Under the Speedy Trial Act, “[a]ny information or indictment charging the
commission of an offense shall be filed within thirty days from the date on which such individual
was arrested or served with a summons in connection with the charges.” 18 U.S.C. § 3l6l(b).

Therefore, any information or indictment would have initially needed to be filed by March 18,

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2016. The Court granted the parties’ previous requests to exclude from the 30-day clock the
period from March 18 through September 9, 2016.

4. The government now seeks a further, likely final, extension of time to file an
indictment or information until October 10, 2016. As noted in previous filings in this matter, the
defendant had his detention hearing in this district on April 27, 2016. The Magistrate Judge
issued a Written opinion on July 27, 2016, ordering the defendant detained pending trial (No. l6-
MJ-4l 17-MBB, Doc. No. 25). That decision has resulted in renewed discussions between the
parties regarding a possible plea agreement and information. Despite diligent efforts by the
parties, those discussions have not been completed, and the Defendant is currently assessing a
draft of a proposed plea agreement and information The parties believe the additional time
sought by this assented-to motion will allow the parties to either reach an agreement or
determine that there will be no plea agreement and the case will proceed via indictment The
government does not intend to seek further exclusions from the 30-day period set out in 18
U.S.C. 3 l6l(b) for filing an information or indictment

5. Undersigned counsel has conferred with counsel for Defendant, Tor Ekeland, who

has stated that he and the defendant assent to this motion.

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Therefore, the United States asks, pursuant to 18 U.S.C. §§ 3161(h)(l)(E), 3161(h)(1)(F),
and 316l(h)(7)(A), that the Court exclude, from the 30-day period set out in § 3161(b) for
seeking an indictment, the period from September 9 to October 10, 2016. The ends of justice
served by granting the requested exclusion outweigh the interest of the public and the defendant
in a speedy trial, under § 3161(11)(7)(A).

Respectfully submitted,

CARl\/IEN M. ORTIZ
UNITED STATES ATTORNEY

Byr / / '
Adam .Bookbinder
David J. D’Addio
Assistant U.S. Attorneys

The above motion is GRANTED, and the period from September 9 to October 10, 2016,

is excluded from all Speedy Trial Act calculations

Dated: , 2016.

 

United States District Judge

CERTIFICATE OF SERVICE
I hereby certify that a copy of this sealed pleading was served by e-mail on Tor

Ekeland, counsel for Martin Gottesfeld.

 

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David] ‘Addio

Assistant U.S. Attorney

Dated: August 26, 2016

